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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) C. CRAIG COLE AND                       )
(2) RUBY COLE,                              )
husband and wife,                           )
                                            )
             Plaintiffs,                    )
                                            )
vs.                                         )   Case No.: 14-cv-445-C
                                            )
(1) WEST AMERICAN INSURANCE                 )
COMPANY,                                    )
(2) SAFECO INSURANCE COMPANY,               )
(3) LIBERTY MUTUAL INSURANCE                )
COMPANY,                                    )
(4) OHIO CASUALTY INSURANCE                 )
COMPANY, and,                               )
(5) AMERICA FIRST INSURANCE                 )
COMPANY                                     )
                                            )
             Defendants.                    )


                    STIPULATION OF DISMISSAL WITHOUT
                    PREJUDICE OF DEFENDANTS, LIBERTY
                    MUTUAL INSURANCE COMPANY AND
                    OHIO CASUALTY INSURANCE COMPANY



      Plaintiffs, C. Craig Cole and Ruby Cole, and the Defendants, West American

Insurance Company, Safeco Insurance Company, Liberty Mutual Insurance Company, Ohio

Casualty Insurance Company, and America First Insurance Company, hereby stipulate to a

dismissal without prejudice of the Defendants, Liberty Mutual Insurance Company and Ohio

Casualty Company. This dismissal without prejudice shall be as to the Defendants, Liberty

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Mutual Insurance Company and Ohio Casualty Company only, and all other claims are

specifically reserved against the remaining Defendants, West American Insurance Company,

Safeco Insurance Company, and America First Insurance Company.

                                        CATHCART & DOOLEY

                                        s/Virginia Cathcart Holleman
                                        Virginia Cathcart Holleman, OBA #15422
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                                        s/Barbara K. Buratti
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                             CERTIFICATE OF SERVICE

I hereby certify that on May 29, 2014, I electronically transmitted the attached document to
the Clerk of the Court using the ECF System for filing. Based on the records currently on
file, the Clerk of Court will transmit a Notice of Electronic Filing to the following ECF
registrants:

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                                          s/Virginia Cathcart Holleman
                                          Virginia Cathcart Holleman




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